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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

 

 

 

 

TAMPA DIVISION

UNITED STATES OF AMERICA COMMITMENT
v. TO ANOTHER DISTRICT
GRAYDON YOUNG CASE No. 8:21-MJ-1148-TGW

CHARGES

Charging Document Statute(s) Charging District
Complaint 18 U.S.C. 2; 18 U.S.C. 371; 18 District of Columbia
U.S.C. 1361; 18 U.S.C. 1512; 18 Case No. 1 :21-mj-225
U.S.C. 1519; 18 U.S.C. 1752

 

 

 

Description: Aiding and Abetting; Conspiracy to Defraud the United States; Destruction of Government
Property; Obstruction of an Official Proceeding; Access to Restricted Building Or Grounds; Obstruction
of Justice/Destruction or Alteration of Records In Federal Investigation

 

 

 

PROCEEDINGS

 

CURRENT BOND STATUS:
[X] Government moved for detention and defendant detained after hearing in district of arrest

[ ] Government moved for detention and defendant detained pending detention hearing in district of offense
[ ] Other:

 

COUNSEL: [X ] Retained Own Counsel [ ] Federal Defender Organization [ ]CJA Attorney [ ] None

 

 

INTERPRETER: [X]No  [ ] Yes Language:

 

 

 

 

TO: THE UNITED STATES MARSHAL

 

You are hereby commanded to take custody of GRAYDON YOUNG and to transport the defendant with a
certified copy of this Commitment Order forthwith to the Charging District and thereafter deliver him to the
United States Marshal for that District or to some other officer authorized to receive the defendant.

FEBRUARY _% , 2021 Prec 25. Wa

THOMAS G, WILSON
UNITED STATES MAGISTRATE JUDGE

 

 

 

 

 

RETURN

 

Commitment Order Received: Place of Commitment: Date Defendant Committed:

 

 

 

Date United States Marshal By Deputy Marshal

 

 

 

 

 

 
